                 Case 17-25202-LMI       Doc 24     Filed 03/07/18     Page 1 of 3



                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                MIAMI-DADE DIVISION
 In re:

 CRAIG SIZER,                                           Case Number 17-25202-BKC-LMI
 SSN XXX.XX.1516                                        Chapter 7

       Debtor.
 _____________________________________/


   DEBTOR’S OBJECTION TO MOTION FOR RELIEF FROM STAY REGARDING
       REAL PROPERTY FILED BY U.S. BANK NATIONAL ASSOCIATION

          The Debtor, CRAIG SIZER, by and through undersigned counsel, pursuant to 11 U.S.C.

§362 and Rule 4001 of the Federal Bankruptcy Procedure, hereby files this Objection to Motion

for Relief from Stay Regarding Real Property filed by U.S. Bank National Association [D.E. 20],

and avers:

          1.    CRAIG SIZER (the “Debtor”) filed a petition for relief under Chapter 7 of

the United States Bankruptcy Code on December 21, 2017.

          2.    The 341 Meeting of Creditors was originally scheduled for January 30, 2018 at

8:30 A.M., but has been rescheduled to allow the Debtor to testify telephonically from the prison

where he is currently incarcerated. The 341 Meeting of Creditors is scheduled to take place on

April 2, 2018 at 8:30 A.M.

          3.    On February 27, 2017, U.S. Bank National Association (“Secured Lender”) filed

a motion seeking relief from the automatic stay (the “Motion”).

          4.    The Secured Lender holds the first mortgage on the Debtor’s homestead property

located at 555 NE 57 Street, Miami, FL 33137 (the “Property”).

          5.    The Debtor’s non-filing spouse and minor children are residing in the Property.

          6.    As stated in the Debtor’s Statement of Intentions, the Debtor intends to keep the
               Case 17-25202-LMI        Doc 24     Filed 03/07/18      Page 2 of 3



Property and modify the loan.

       7.      The Secured Lender alleges in its’ Motion that the Debtor and estate may lack

equity in the Collateral. Based on Zillow the Property is worth approximately $1,074,601. The

Debtor’s non-filing spouse has also spoken to realtor’s regarding the possible sale of the Property

and most realtors believe that the Property can be sold for $1,600,000.00. The Secured Lender is

owed approximately $875,000.00.

       8.      The Debtor needs additional time to either gather the necessary documents to

participate in the MMM program and attempt to modify the mortgage or to sell the Property.

       9.      There is equity in the Property to protect the Secured Lender’s interest in the

Property.

       10.     The Debtor objects to U.S. Bank National Association’s Motion for Relief from

Stay and seeks an order from the court denying said Motion.

       WHEREFORE, the Debtor, CRAIG SIZER, seeks the relief sought in this pleading and

for any other relief deemed just and proper in the circumstances.


                                CERTIFICATE OF SERVICE

     I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via
CM/ECF, on the 7th of March 2018 to the parties listed below.

      Maria Yip, Chapter 7 Trustee – trustee@yipcpa.com and
       myip@ecf.epiqsystems.com
      U.S. Bank National Association c/o Nicole Mariani Noel, Esq., Kass Shuler, P.A.
       – bankruptcynotices@kasslaw.com and nmnoel@ecf.courtdrive.com
      Office of the US Trustee – USTPRegion21.MM.ECF@usdoj.gov
         Case 17-25202-LMI              Doc 24    Filed 03/07/18      Page 3 of 3



  CERTIFICATE PURSUANT TO                        KINGCADE & GARCIA, P.A
    LOCAL RULE 9011-4(B)                         Counsel for the Debtors
                                                 Kingcade Building
     I HEREBY CERTIFY that I am                  1370 Coral Way ▪ Miami, Florida 33145-2960
admitted to the Bar of the United States         WWW.MIAMIBANKRUPTCY.COM
District Court for the Southern District of      Telephone: 305-285-9100
Florida and I am in compliance with the
additional qualifications to practice in         /s/ Timothy S. Kingcade
this Court set forth in Local Rule 2090-
                                                 x Timothy S. Kingcade, Esq., FBN 082309
1(A).
                                                 □ Wendy Garcia, Esq., FBN 0865478
                                                 □ Jessica L. McMaken, Esq., FBN 580163
